
*430OPINION.
Trammell:
It is contended by the petitioner that the preferred stock of the Franklin Coal &amp; Coke Co. became worthless in December, 1920. The petitioner testified that he considered the stock worthless when he received information that Dungan the principal salesman would resign and not be further connected with the company; that the success of the business depended upon Dungan remaining with it. The fact is, however, that Dungan did not resign until 1921.
The petitioner further relies in support of his contention that the stock was worthless upon the fact that he was unable to sell it in December, 1920, and did not receive an offer for it, and that Tatnell, the president of the company, stated that the stock was worthless. We were not furnished, however, with a statement of the assets and liabilities of the company and there is nothing in the record to indicate that the company did not have earnings in December, 1920. It was at that time a going concern and its principal salesman still remained with it. The fact that Tatnell the president of the company would not buy the stock and stated that it was worth*431less is not sufficient, in view of all the other evidence in the case, to establish the fact of worthlessness. The stock was preferred as to dividends and assets and while the evidence might warrant the conclusion that at the end of 1920 the stock had suffered a reduction in value, we can not find from the entire record that the stock was worthless in 1920.

Judgment will be entered for the respondent.

